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 3
     Attorney for Plaintiff
 4

 5                                  UNITED STATES DISTRICT COURT

 6                               NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DISTRICT
 7

 8   EASTON STOKES                                     ) Case No.:
                              Plaintiff,               ) 3:19-cv-04613-WHA
 9                                                     )
                              vs.                      )
10                                                     )
                                                       ) REQUEST FOR CLARIFICATION
     UNITED STATES DEPARTMENT OF
                                                       )
11   JUSTICE, et al.                                   )
                     Defendants.                       )
12                                                     )
                                                       )
13

14                         PLAINTIFFS’ REQUEST FOR CLARIFICATION

15            Pursuant to Fed. R. App. P. 4(a) of the Federal Rules of Civil Procedure, Plaintiff Easton

16   Stokes, by and through his attorney, wishes to convey his understanding that the time period for

17   any defendant to appeal the final summary judgment ruling issued on July 30th, 2021 was 60

18   days and that this time period expired on September 28th, 2021.

19            If he is mistaken, Plaintiff Stokes requests the court provide clarity on when the time

20   period for appeal does expire.

21   Dated:          09/29/21                               Respectfully Submitted,

22
                                                            ________/s/______________
23                                                          TIMOTHY KELLY
                                                            Attorney for Mr. Stokes
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 1

 2                                          RESPONSE

 3   Defendants’ Time period in which to appeal the Summary Judgment Ruling issued on July 30th

 4   2021 is _______ days and expires on ____________.

 5
     Date:
 6                                                    ________________________________
                                                      HONORABLE WILLIAM H. ALSUP
 7                                                    UNITED STATES DISTRICT JUDGE

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